                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Sep 20, 2016
                                      Form ID: pdf018                    Total Noticed: 22

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 22, 2016.
db/jdb         +Elbert G Garboden,    Sherry L Garboden,    16102 NE San Rafael,   Portland, OR 97230-5254
cr             +CitiMortgage, Inc.,    C/O ALDRIDGE PITE, LLP,    4375 Jutland Drive, Suite 200,
                 P.O. Box 17933,     San Diego, CA 92177-7921
cr             +Wells Fargo Bank N.A. dba Wells Fargo Dealer Servi,     P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
101096465       Bank of America,    PO Box 650070,   Dallas, TX 75265-0070
101096466       Bank of America,    PO Box 851001,   Dallas, TX 75285-1001
101096470     ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Home Depot Credit Services,      PO Box 78011,
                 Phoenix, AZ 85062-8011)
101096468       Citi Mortgage,   PO Box 689196,    Des Moines, IA 50368-9196
101207401      +Credit First NA,    PO Box 818011,   Cleveland, OH 44181-8011
101096469       Firestone/Credit First NA,    PO Box 81344,    Cleveland, OH 44188-0344
101224674      +Wells Fargo Card Services,    1 Home Campus 3rd Floor,    Des Moines, IA 50328-0001
101096476       Wells Fargo Card Services,    PO Box 30086,    Los Angeles, CA 90030-0086
101096477       Wells Fargo Dealer Services,    PO Box 25341,    Santa Ana, CA 92799-5341

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Sep 21 2016 01:21:12
                 Les Schwab Tire Centers of Portland Inc,   POB 5350,   Bend, OR 97708-5350
101096467       E-mail/PDF: gecsedi@recoverycorp.com Sep 21 2016 01:24:28      Chevron/Synchrony Bank,
                 PO Box 530950,   Atlanta, GA 30353-0950
101096471       E-mail/Text: cio.bncmail@irs.gov Sep 21 2016 01:20:40      Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
101096472      +E-mail/Text: ZyCredit.A.User@lesschwab.com Sep 21 2016 01:21:12      Les Schwab,   PO Box 5350,
                 Bend, OR 97708-5350
101096473      +E-mail/Text: bankruptcy.revenue@oregon.gov Sep 21 2016 01:20:31      ODR,
                 955 Center Street, NE Room 353,   Attn: Bankruptcy Unit,    Salem, OR 97301-2555
101096474       E-mail/Text: bankruptcy@onpointcu.com Sep 21 2016 01:21:49      OnPoint Community Credit Union,
                 PO Box 3750,   Portland, OR 97208
101225533       E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 21 2016 01:25:31
                 Portfolio Recovery Associates, LLC,   c/o 76 Personal Credit Card,    POB 41067,
                 Norfolk VA 23541
101225512       E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 21 2016 01:25:31
                 Portfolio Recovery Associates, LLC,   c/o Chevron And Texaco Credit Card,    POB 41067,
                 Norfolk VA 23541
101169368      +E-mail/PDF: resurgentbknotifications@resurgent.com Sep 21 2016 01:25:01      PYOD LLC,
                 c/o Resurgent Capital Services,   PO Box 19008,   Greenville, SC 29602-9008
101096475       E-mail/PDF: gecsedi@recoverycorp.com Sep 21 2016 01:24:26      Phillips 66 Co/SYNCB,
                 PO Box 530942,   Atlanta, GA 30353-0942
                                                                                             TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 22, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 20, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0


                                      Case 15-35133-rld7              Doc 43       Filed 09/22/16
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0/01/2010
4/01/2009
 Systems
   1.2
   7A
    1101-7-NFR
          Inc.
                                                            UNITED STATES BANKRUPTCY COURT
                                                                  DISTRICT OF OREGON
                                                                   PORTLAND DIVISION

                      In re:                                            §
                                                                        §
                      Elbert G Garboden                                 §      Case No. 15-35133-RLD7
                      Sherry L Garboden                                 §
                                                                        §
                                          Debtors                       §

                                                        NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                          APPLICATIONS FOR COMPENSATION
                                                            AND DEADLINE TO OBJECT (NFR)

                              Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that AMY
                      MITCHELL, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
                      professionals have filed final fee applications, which are summarized in the attached Summary of
                      Trustee's Final Report and Applications for Compensation.

                              The complete Final Report and all applications for compensation are available for inspection at
                      the Office of the Clerk, at the following address:
                                                     1001 SW FIFTH AVENUE #700
                                                     PORTLAND, OR 97204
                              Any person wishing to object to any fee application that has not already been approved or
                      to the Final Report, must file a written objection within 23 days from the mailing of this notice,
                      together with a request for a hearing and serve a copy of both upon the trustee, any party whose
                      application is being challenged and the United States Trustee. If no objections are filed, the Court
                      will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
                      further order of the Court.

                      Date:              09/20/2016                         By: Clerk of the U.S. Bankruptcy Court


                      AMY MITCHELL
                      P.O. Box 2289
                      Lake Oswego, OR 97035




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                                               UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF OREGON
                                                      PORTLAND DIVISION


      In re:                                                                  §
                                                                              §
      Elbert G Garboden                                                       §         Case No. 15-35133-RLD7
      Sherry L Garboden                                                       §
                                                                              §
                               Debtors                                        §

                                               SUMMARY OF TRUSTEE'S FINAL REPORT
                                               AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                                                $                       5,000.00
                     and approved disbursements of                                                                     $                             30.00
                                                             1
                     leaving a balance on hand of                                                                      $                       4,970.00


                   Claims of secured creditors will be paid as follows:


                                                                                   NONE


                   Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                      Interim Payment             Proposed
                              Reason/Applicant                             Total Requested            to Date                     Payment
       Trustee Fees: AMY MITCHELL                                         $            1,250.00 $                          0.00 $              1,250.00
       Trustee Expenses: AMY MITCHELL                                     $                 27.73 $                        0.00 $                    27.73
                     Total to be paid for chapter 7 administrative expenses                                            $                       1,277.73
                     Remaining Balance                                                                                 $                       3,692.27


                   Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                                   NONE


____________________
           1
               The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 7,087.26 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                      Allowed Amount       Interim Payment to
     Claim No.          Claimant                      of Claim             Date               Proposed Payment
                        INTERNAL REVENUE
     1A                 SERVICE          $                    7,087.26 $               0.00 $         3,692.27
                Total to be paid to priority creditors                                  $             3,692.27
                Remaining Balance                                                       $                  0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 36,202.68 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                      Allowed Amount       Interim Payment to
     Claim No.          Claimant                      of Claim             Date               Proposed Payment
     2                  PYOD LLC                  $            160.37 $                0.00 $              0.00
     3                  CREDIT FIRST NA           $            903.53 $                0.00 $              0.00
                        ONPOINT
                        COMMUNITY CREDIT
     4                  UNION            $                    2,470.91 $               0.00 $              0.00
                        ONPOINT
                        COMMUNITY CREDIT
     5                  UNION            $                    4,749.79 $               0.00 $              0.00
                        Wells Fargo Card
     6                  Services                  $         24,970.73 $                0.00 $              0.00
                        Portfolio Recovery
     7                  Associates, LLC           $           2,183.07 $               0.00 $              0.00
                        Portfolio Recovery
     8                  Associates, LLC           $            764.28 $                0.00 $              0.00
                Total to be paid to timely general unsecured creditors                  $                  0.00




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                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 7,087.26 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        INTERNAL REVENUE
     1B                 SERVICE          $                  7,087.26 $               0.00 $                 0.00
                Total to be paid to subordinated unsecured creditors                  $                     0.00
                Remaining Balance                                                     $                     0.00


                                              Prepared By: /s/ Amy Mitchell
                                                                                     Trustee


     AMY MITCHELL
     P.O. Box 2289
     Lake Oswego, OR 97035


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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